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8
                            IN THE UNITED STATES DISTRICT COURT
9
10                                      DISTRICT OF ARIZONA

11        United States of America,                     No. CR-18-01793-001-TUC-JAS (DTF)
12
                           Plaintiff,
13
          v.                                            SENTENCING MEMORANDUM
14
15        Keith A. Bee,

16                          Defendant.
17
18             The defendant, Keith A. Bee, by and through his undersigned counsel, hereby
19    respectfully submits this memorandum to assist the Court in connection with Mr. Bee’s
20
      upcoming sentencing on March 16, 2022. Mr. Bee agrees with the recommendation in his
21
      Presentence Investigation Report (“PSI”) that he be placed on probation for a period of 60
22
23    months under the conditions set forth in the report, and that he pay in restitution $214,414
24    for tax loss plus $128,719.05 for accrued interest to the Internal Revenue Service (“IRS”),
25
      for a total restitution amount of $343,133.05.1
26
27
      1
28      Although Mr. Bee is indigent, he has managed to gather $20,000, which has been placed
      in undersigned counsel’s trust account, to be paid after sentencing as a partial good-faith
      payment on his restitution obligations.
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1                                              Background
2
             This Court will be imposing sentence on Mr. Bee pursuant to his guilty plea to one
3
      count of making and subscribing a false income tax return for tax year 2013 in violation of
4
5     26 U.S.C. § 7206(1). This case began in 2014 as a civil audit for tax year 2011 involving Mr.

6     Bee and his business, Bee Line Transportation, LLC. The audit focused on the fact that Mr.
7
      Bee had been running non-business expenses through the business’ accounts.2 The IRS
8
      investigation expanded into tax years 2012 and 2013. The initial IRS Special Agent Report
9
10    (“SAR”) was finalized on January 3, 2018, and reflected the investigation that occurred prior

11    to that date. Subsequent to Mr. Bee’s indictment in September of 2018, the defense began its
12
      investigation and retained two court-appointed expert forensic accountants3 who reviewed
13
      the case and key portions of the government’s extensive disclosure. In the four years since
14
15    the issuance of the initial SAR, the facts of the case have been carefully reviewed by the

16    parties. Through diligent efforts, the parties were able to meet and confer, and address matters
17
      with the aid of additional information derived from the subsequent investigation into the
18
      case, including what are now known to be inaccuracies in the initial SAR. Through these
19
20    efforts, the parties were able to resolve the case through a stipulated factual basis for Mr.

21    Bee’s guilty plea.
22
23
24    2
        This, of course, is not illegal (and is, in fact, very common in closely held business entities)
25    as long as the expenses are properly accounted for at the end of the tax year. See, e.g., United
      States v. Chesson, 933 F.2d 298, 305 (5th Cir. 1991).
26    3
        The forensic accountants, Marc Fleischman and Frederick Shaffer, have nearly 90 years of
      combined accounting experience, and Mr. Shaffer worked for the IRS in various roles for
27
      nearly 10 years on tax matters.
28

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1            The parties, after numerous conferences, including those with the IRS, carefully
2
      crafted their plea agreement with the agreed-upon statement of facts, an agreed-upon
3
      sentencing range of zero to ten months, and agreed-upon restitution of $214,414 in tax loss
4
5     and $128,719.05 in interest, for a total of $343,133.05.4 Within this range, the PSI

6     recommends zero months incarceration with a 60-month term of probation under conditions
7
      that will permit Mr. Bee to complete his restitution obligations. As noted in the plea
8
      agreement, Mr. Bee has accepted full responsibility for his actions and for the full amount of
9
10    the agreed-upon tax loss. However, as the Court may have noticed from the parties’ recent

11    pleadings, there remain some matters of dispute that do not affect the sentence guideline
12
      range or the tax loss calculation.5
13
      I.     This Court Should Impose The Presentence Investigation Report’s
14           Recommended Sentence Of Probation.
15
             In recommending probation, the PSI correctly notes that “[t]he history and
16
      characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1) may be considered by the
17
18
19
      4
20       As a result of the subsequent investigation and consultations, the tax loss figures were
      reduced significantly. The tax loss attributable to Mr. Bee was reduced for tax year 2011
21    from $217,531 to $24,884; for 2012, it was reduced from $118,369 to $27,857; and for 2013,
      it was reduced from $252,050 to $161,673. Thus, the total tax liability after adjustments and
22
      corrections is $214,414, a reduction in tax liability of $373,356 from the initial reported tax
23    liability of $587,950. The stipulated factual basis for the plea agreement notes that not all of
      this tax liability is agreed to be the product of civil or criminal fraud. While acknowledging
24    the tax loss, Mr. Bee believes that, at subsequent civil proceedings, the bulk of the tax loss
25    should be considered non-fraud related.
      5
         Mr. Bee has admitted that the tax losses relating to various automobile expenses were
26    fraudulent, but the parties have agreed to defer to another day and another forum whether the
      additional portions of the admitted tax loss are attributable to fraud. See Plea Agreement, p.
27
      13. (Doc. 104).
28

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1     Court,” including the defendant’s civic, charitable, public service, and record of prior good
2
      works. (Doc. 106, p. 18 ¶¶ 96, 98). The PSI further notes that “Bee’s good acts are present
3
      to an unusual degree and distinguish this case from the typical cases covered by the
4
5     guidelines,” and further notes that Mr. Bee “has completed charitable service and good

6     works, has been employed since he was a teenager, and has family ties and responsibilities
7
      due to his wife’s illness.” (Id.). The facts show that Mr. Bee will be an ideal candidate for
8
      probation.
9
10           A.      History And Characteristics Of The Defendant.

11           18 U.S.C. § 3553(a)(1) requires this Court to consider the history and characteristics
12
      of the defendant in determining the appropriate sentence. As the PSI notes, Mr. Bee has an
13
      exemplary record of public service and charitable works. He has no criminal history. He has
14
15    worked essentially all of his life, beginning on his family’s farm in Tucson and then working

16    at the age of 12 in his school’s print shop. He is a man of faith and has been actively involved
17
      in church-related activities. His public service includes serving as an elected representative
18
      in the Arizona House of Representatives and Arizona Senate, and as a (non-lawyer) justice
19
20    of the peace in the Pima County Justice Court. In addition, Mr. Bee has operated Bee Line

21    Transportation, LLC since 1987. (Doc. 106, p. 13).
22           Mr. Bee’s current circumstances thus represent a drastic departure from this history.
23
      While Mr. Bee accepts full responsibility for his actions, it cannot be denied that the
24
25    circumstances of this case involve a massive fall from grace for a dedicated individual. Mr.

26    Bee currently lives in an approximately 720-square-foot, two-bedroom, single-wide trailer
27    with his wife and three of his children, including two minors, aged 14 and 15. Mr. Bee’s
28

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1     wife, Robin, has been suffering the debilitating effects of long-term COVID, and is incapable
2
      of living independently or providing care for the minor children. (Doc. 106, p. 12 ¶¶ 54-55).
3
      Mr. Bee and the children are therefore required to take care of all of the household duties.
4
5            Mr. Bee currently works extensively, many weeks up to 100 hours per week,

6     beginning his day at 4:00 a.m. His many responsibilities include maintaining the business’
7
      records, driving multiple bus routes, and filling in on special afterschool and weekend bus
8
      trips in addition to his caregiving and childrearing functions at home. If Mr. Bee were
9
10    incarcerated, he could no longer perform these duties, the business would fail and almost

11    assuredly end in bankruptcy, thus frustrating, if not entirely eliminating, Mr. Bee’s ability to
12
      pay off his tax obligation in any reasonable time frame, and causing collateral damage to the
13
      school districts that rely on Bee Line Transportation to transport their students to and from
14
15    school.6

16           Mr. Bee’s present circumstances are thus quite a departure from his former status and
17
      history, as the PSI notes, of extraordinary public service and charitable works. In this regard,
18
      it is anticipated that the government may contend that Mr. Bee’s background and prior
19
20    positions of authority should somehow count as aggravating factors. Quite the opposite is

21    true. Indeed, the numerous character letters submitted on Mr. Bee’s behalf demonstrate quite
22    clearly that he was highly regarded as a fair, compassionate, and even-handed justice of the
23
      peace that litigants respected and, indeed, looked forward to appearing before due to his
24
25
26    6
        Despite all of Mr. Bee’s efforts in running and maintaining the business, the family’s
      financial fortunes have suffered to the extent that they now partially rely on food assistance
27
      from the food bank.
28

                                                     5
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1     character for treating all people with dignity, honesty, integrity, empathy, and compassion.
2
      The authors of these letters on Mr. Bee’s behalf also uniformly describe him as being a
3
      dedicated family man, committed to his religious faith and helping others.7 These, of course,
4
5     are additional factors that this Court can and should consider under 18 U.S.C. § 3553(a)(1).

6            B.      Nature And Circumstances Of The Offense.
7
             Under 18 U.S.C. § 3553(a)(1), the Court must also consider the nature and
8
      circumstances of the offense. As noted above, this case began as a civil audit of Mr. Bee for
9
10    tax year 2011. While the audit found no irregularities with the revenue reporting, it did

11    determine that there were non-business expenses that were run through Bee Line
12
      Transportation, LLC. Mr. Bee has accepted full responsibility for his conduct and full
13
      responsibility for the tax loss set forth in the stipulated factual basis in his plea agreement.
14
15    That said, as Mr. Bee has previously noted,8 it is now known that there were some factual

16    errors in the IRS’s initial evaluation and report in this matter, resulting in a significant
17
      downward revision of the tax loss involved. For example, with the subsequent analysis of
18
      defense forensic account experts and consultations with the government’s agents, it is now
19
20    known that the actual tax loss for the 2011 tax year was $24,884. The same is true for tax

21    year 2012, where it was later determined that the actual tax loss was $27,857. Had Mr. Bee
22
23
      7
        The letters submitted on Mr. Bee’s behalf are from individuals who know him best, and
24    include members of the clergy, experienced members of the bar, law enforcement officers,
25    and court personnel. While these letters uniformly describe Mr. Bee’s kindness to all of those
      he encounters in the various aspects of his life, of particular note is the decision of Mr. Bee
26    and his wife to adopt a child out of a horrible family environment, and to fully accept him
      (Kaleb) into their home while raising four children of their own.
27    8
        (See Doc. 114).
28

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1     been adequately represented in the civil audit, the matter may well have taken a different
2
      course.9
3
             Despite numerous disagreements in many different areas, the parties were able to
4
5     reach a mutually acceptable resolution of this case through the stipulated factual basis set

6     forth in the plea agreement. Mr. Bee admitted that he knowingly and willfully overstated Bee
7
      Line Transportation’s total expenses in order to reduce his tax liability. Specifically, Mr. Bee
8
      admitted that the listed business expenses included “personal expenses and the depreciation
9
10    of personal assets, including payments for and the depreciation of automobiles that were not

11    used in the ordinary course and scope of my business.” (Doc. 104, p. 12).10 Mr. Bee therefore
12
      agreed to plead guilty to one count of making and subscribing a false income tax return for
13
      the tax year 2013 because “the government could prove that my 2013 Form 1040 understated
14
15    my tax due and owing because I had knowingly and willfully included personal expenses

16    and the depreciation of personal assets in the expenses of Bee Line….” (Id., p. 13). Mr. Bee
17
      further admitted that relevant conduct for sentencing purposes would include tax years 2011
18
19
20    9
        While the government has taken issue with Mr. Bee’s assertions that his tax preparation
21    services and his representation in the IRS audit from his prior accountant, Mr. Jeffrey Hill,
      was woefully inadequate, the reports prepared by the court-appointed forensic accounting
22
      experts set forth in detail the numerous areas in which Mr. Hill’s performance fell below
23    minimally acceptable professional standards. Indeed, there can be no reasonable dispute
      about the quality of Mr. Hill’s work in the tax preparation services and in the subsequent IRS
24    audit. Had it been done properly, the matters that were subsequently brought to the IRS’s
25    attention could have, and should have, been brought to their attention during the audit. This
      is not the first time that Mr. Hill’s services have resulted in legal consequences for the client.
26    (See Doc. 94).
      10
         It should be noted that these vehicles were sold long ago and the proceeds were placed in
27
      the business’ accounts to help keep the business running.
28

                                                      7
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1     and 2012, “resulting in a total tax loss over these three years of approximately $214,414.”
2
      (Id.). However, the factual basis to the plea agreement further specifies that not all of this
3
      total tax loss figure was due to criminal fraud, or even civil fraud, and left those matters to
4
5     be determined at a later date in another forum. (Id.).

6            The PSI correctly sets forth the terms of Mr. Bee’s plea agreement and the resulting
7
      sentencing guideline range of zero to ten months. (Doc. 106, p. 18 ¶ 94). The PSI then
8
      recommends, within that range, a sentence of zero imprisonment and a 60-month term of
9
10    probation under the conditions specified in the report. (Id., pp. 21-22). However, in

11    describing the offense conduct, the PSI understandably repeated many of the factual
12
      assertions set forth in the initial SAR that were later determined to be inaccurate after the
13
      examination by the defense forensic accounting experts and consultation with the
14
15    government discussed above.11

16           Accordingly, Mr. Bee filed his objections to, and comments on, the PSI so that the
17
      Court would have the benefit of the subsequent analysis of the case and factual information
18
      that was not known to the government at the time of the initial SAR. (Doc. 114). Mr. Bee
19
20    specifically noted that these factual matters did not affect the factual basis in the plea

21    agreement, the total tax loss figure, or the resulting sentencing guideline range. (Id., p. 3).
22
23
24    11
         For example, the SAR disallowed over $200,000 of deductions that were actually not
25    deducted by Mr. Bee on his tax returns. This is not to disparage the government agents who
      prepared the report. The business records and Mr. Hill’s accounting records were both
26    inadequate and were not property presented to the government prior to indictment.
      Nonetheless, the IRS did not catch this error until it was pointed out to them by the defense
27
      forensic accountants, and it was erroneously included in its initial disallowed losses.
28

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1     The government, while also acknowledging that these factual matters “do not affect the tax
2
      loss -- which is agreed -- and hence they do not affect the guideline calculation,” (Doc. 119,
3
      p. 7), nonetheless takes issue with Mr. Bee’s characterization of the non-business expenses
4
5     unrelated to the automobiles discussed above. As Mr. Bee has previously noted, this Court

6     is not required to resolve all disputed matters within the PSI, and may rely instead on the
7
      agreed-upon factual basis of the plea agreement.12 However, because the government has
8
      chosen to focus on these matters, Mr. Bee believes that this Court should have the benefit of
9
10    an accurate characterization of the underlying facts.

11           The government’s discussion of these matters repeats some of the factual
12
      inaccuracies that are now known to exist in the initial SAR.13 As an example of what the
13
      government believes to be Mr. Bee’s “simply not credible” explanations about these matters,
14
15    (Doc. 119, p. 2), the government has devoted considerable attention to the “Saguaro

16    Monument” property. However, the government’s claims here, too, contain errors.
17
             First, the government claims that Mr. Bee characterized this property as “a bus yard,”
18
      when it was, according to the government, really a personal residence. (Doc. 119, p. 4). The
19
20    truth is that the Saguaro Monument property was never used as a personal residence for Mr.

21
22    12
        (See Doc. 114, pp. 3-4 and n. 2).
      13
23       For example, the last page of Exhibit B to the Government’s Response to Defendant’s
      Objections to and Comments on Presentence Investigation Report, (Doc. 119, Ex. B, Bates
24    No. 29958), states that the “Total Disallowed Expenses for 2011-2013” are “$1,600,768.”
25    This is a mistake of over $900,000 more than the accurate figure for disallowed expenses,
      which is now known to be $692,309. It is this figure that the stipulated tax loss is based upon,
26    not the larger number. The agreed-upon tax loss of $214,414, which is based on the $692,309
      of disallowed expenses, is the relevant figure for guidelines and sentencing purposes, not the
27
      government’s initial, erroneous disallowed expense number.
28

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1     Bee or his family. Mr. Bee and his family resided in Casa Grande during this entire period
2
      of time.14 While the property may have been purchased initially as a possible residence, that
3
      hope simply never materialized.15
4
5            Second, the government claims that the reason Mr. Bee characterized this property

6     as a bus yard rather than his personal residence is that “he was trying to conceal a 1031
7
      exchange he effected to defer $178,000 in capital gains for 2011.” (Doc. 119, p. 4). It is
8
      somewhat surprising that the government would raise this matter because it actually proves
9
10    several of Mr. Bee’s points. It shows the ineptitude of Mr. Hill in characterizing the

11    transaction as a “1031 exchange,” when, in reality, proper analysis showed that the property
12
      fully qualified for a 1033 condemnation exchange.16 When the proper analysis was
13
      conducted and presented to the government, the government properly withdrew its claim of
14
15    unpaid capital gain taxes as there was no capital gains loss to the government. Mr. Bee fully

16    qualified for deferment of any capital gains under § 1033. The government now claims that
17
      none of this matters because the government’s main point is that Mr. Bee “misrepresented
18
19
      14
20       Mr. Bee’s neighbor in Casa Grande, Tracy Ventura, was interviewed by the defense and
      can verify that Mr. Bee and his family resided at the Casa Grande property prior to, during,
21    and subsequent to the relevant time periods. This truth is also verified by each and every
      member of the Bee family that resided in Casa Grande with Mr. Bee. [See attached Exhibit
22
      A, Inter-State Investigative Services Memorandum, October 5, 2020].
      15
23       The government, of course, bears the burden of proving by a preponderance of the
      evidence the facts on this issue, United States v. Showalter, 569 F.3d 1150, 1160 (9th Cir.
24    2009), but under any standard, the truth is simply that the property was never a personal
25    residence for Mr. Bee.
      16
         It is mystifying, but not surprising, why Mr. Hill characterized the matter as a 1031
26    exchange when, in fact, this property, and other properties, fully qualified for a 1033
      condemnation exchange, which would defer any capital gains and is a much more generous
27
      provision to the taxpayer.
28

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1     the character of the property.” (Id.). But this simply repeats the government’s prior mistake
2
      as the character of the property was never misrepresented because it was never a personal
3
      residence, and the facts show business purposes for which the property was used.17
4
5            Third, the government contends that Mr. Bee’s statements about business expenses

6     related to the property were not credible, and focuses on the expenditures for the custom
7
      garage that Mr. Bee “claims” was built for the repair and maintenance of buses. (Id., p. 5).
8
      Again, it is surprising that the government would focus on this matter because it is quite
9
10    evident that everything about the garage shows that it was, indeed, built for bus repair and

11    maintenance and has been continuously primarily used for that purpose since it was built. To
12
      begin with, the garage is supported by at least an 8-inch concrete foundation, well in excess
13
      of the normal 3- to 4-inch foundation used for ordinary garage purposes, which added
14
15    considerable yet necessary extra expense to the project. This was necessary as, since the

16    garage was built to perform repairs on buses, an expensive, extra-thick concrete foundation
17
      was required to support the additional weight.
18
             The size of the garage also shows that it was built to accommodate large buses, not
19
20    ordinary automobiles. The government notes that, during a walkthrough inspection, a

21    revenue agent did, in fact, notice the presence of buses in the garage, but the agent remarkably
22    did not think that the garage bore the ear-markings of a genuine bus repair facility. (Id.). With
23
24
25    17
         In addition, Mr. Bee purchased other properties during the relevant time periods that
26    permitted the condemnation proceeds, under § 1033, to be rolled into other properties and
      any capital gains deferred. There was no need for Mr. Bee to misrepresent the property, as
27
      he had multiple properties that qualified for the § 1033 condemnation exchange.
28

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1     all due respect to the revenue officer’s objectivity, it is painfully obvious to literally anyone
2
      who would view this facility that its primary use is bus maintenance. Obviously,
3
      theoretically, a personal vehicle could also be housed in the facility, and on occasion, a
4
5     personal vehicle or vehicles were parked there. However, throughout the overwhelming

6     majority of the time (approximately 95%), the overwhelming majority of the facility
7
      (approximately 95%) was used for buses, and such use is obvious. Whether one wishes to
8
      call it a bus yard, warehouse, garage, or bus maintenance facility, or some other general term,
9
10    does not undercut the fact that that was why it was built and that is how it has been used since

11    it was built. The buses, when maintenance was performed upon them, would be pulled into
12
      a garage that, not surprisingly, is the exact perfect length to fit two buses while work is being
13
      performed in a garage where the doors can be closed and not have any visual disturbance for
14
15    any neighbors.18 Mr. Bee is attaching hereto numerous photographs of the garage that clearly

16    demonstrate its purpose as a facility for repairing and maintaining buses. [See attached
17
      Exhibit B]. Mr. Bee further invites the Court to personally visit the property so that the Court
18
      can easily observe for itself the nature and the purpose of the garage.19 Realistically, this
19
20    should not even be an issue for the government.

21
22
      18
23       Mr. Bee also notes that he purchased “buffer” properties on either side of the Saguaro
      Monument property in order to minimize the effects on the neighborhood from the buses
24    entering and leaving the property for maintenance purposes. Buses were generally not parked
25    at that location outside of the garage.
      19
          Indeed, Mr. Bee previously requested a jury view, (Doc. 76), which the government
26    vigorously opposed, (Doc. 95), so that the jury could observe the clear nature and purpose of
      the garage. Any such jury (or Court) view would immediately dispel the government’s
27
      assertion that this garage was not used for business purposes.
28

                                                     12
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1              Finally, the government questions Mr. Bee’s assertions that the Saguaro Monument
2
      property was an investment property and that the expenses related to the property should
3
      have been capitalized and depreciated, rather than expensed. (Doc. 119, pp. 5-6). The
4
5     government dismisses these arguments, claiming that Mr. Bee is simply trying to minimize

6     “his culpability for what he did: use Bee Line Money to acquire, renovate, and maintain
7
      multiple single-family homes.” (Id., p. 6). However, once again, the government neglects the
8
      fact that it is perfectly legal (and quite common in closely held business entities) for business
9
10    funds to be used for such purposes unrelated to the business, as long as the expenses are

11    properly accounted for at the end of the tax year.20 It is also perfectly legal to depreciate real
12
      property, including homes that are used for a business purpose or a rental, as this property
13
      was (and is) used. Of course, these expenses were not properly reclassified to capitalization
14
15    and depreciation from deductible expenses in the present case. That is one of the reasons Mr.

16    Bee agreed to resolve the case through the agreed-upon factual basis set forth in the plea
17
18
19
20
21
22    20
           As explained in United States v. Chesson, 933 F.2d 298, 305 (5th Cir. 1991):
23
               There was a great deal of testimony as to the proper timing and method of
24             reclassifying non-business expenses. Most of the testimony confirmed that a
               corporation’s accountants can, and should, reclassify personal and other non-
25             business expenses at the end of the tax year to minimize the client’s tax
26             obligations. There are several options. A personal expense may be reclassified
               as additional compensation to the shareholder, as a loan payable by the
27             shareholder, or as a constructive dividend to the shareholder.
28

                                                     13
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1     agreement.21 However, it is inaccurate and incorrect for the government to contend that the
2
      use of business money for non-business expenses is, in itself, unlawful, evidence of unlawful
3
      intent, or evidence of “culpability.” (Id.).
4
5            The government is certainly correct that “what the Court need not do is delve into the

6     minutiae of the accounting issues because they do not affect the tax loss -- which is agreed -
7
      - and hence they do not affect the guideline calculation.” (Doc. 119, p. 7). However, because
8
      the government has devoted so much of its response to this “minutiae,” and cited the Saguaro
9
10    Monument property as an example, Mr. Bee felt it necessary to address these matters to

11    correct the government’s errors and present an accurate portrayal of the underlying facts.
12
             In sum, Mr. Bee has accepted full responsibility for his conduct as set forth in the
13
      agreed-upon factual basis for his plea agreement. The agreed-upon factual basis accurately
14
15    sets forth the nature and circumstances of the offense for sentencing purposes.

16           C.      Addressing The Purposes Of Sentencing And Restitution.
17
             In determining the appropriate sentence, this Court must also consider the need for
18
      the sentence imposed to address the purposes of the sentencing statutes, including providing
19
20    just punishment and protecting the public from future criminal conduct from the defendant.

21    18 U.S.C. § 3553(a)(2). The PSI correctly notes:
22           A five-level downward variance is recommended to an imprisonment range
23
24    21
         The home, itself, was never used as a personal residence but, for a time it was used as an
25    office for the business because it was available. Subsequently, for over five years, as an
      investment property, the home has been rented with the caveat that the bus yard/garage is
26    still to be used only by the business. Thus, those expenses that were used to improve the
      residential property could have been capitalized and depreciated. Where they were expensed,
27
      they are now part of the agreed-upon tax loss.
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1            of zero to six months. The lower end of that range, zero months, is
             recommended and a 60-month probation term is believed to represent an
2
             adequate sanction which addresses the purposes of sentencing and payment
3            of restitution. The recommended term of probation will serve to monitor
             Bee’s activities. The defendant must pay restitution. Due to his owing
4            restitution, he does not have the ability to pay a fine, and it is recommended
5            the fine be waived.

6     (Doc. 106, p. 21, emphasis added). Mr. Bee submits that the PSI is correct and the
7
      recommended sentence of probation serves the purposes of the sentencing statutes and
8
      comports with the Court’s duty to “impose a sentence sufficient, but not greater than
9
10    necessary, to comply with the purposes” of the sentencing statutes. 18 U.S.C. § 3553(a).

11           Despite the PSI’s well-supported reasons for its recommendation of probation, it is
12
      anticipated that the government may contend that, in any tax prosecution, a term of
13
      imprisonment must be imposed. This position would reflect the U.S. Attorney’s Office’s
14
15    general policy of recommending (except in extremely limited circumstances) a sentence of

16    imprisonment in every single tax case, regardless of the circumstances of the offense and the
17
      history and characteristics of the offender, usually followed by a press release.22 This policy,
18
      of course, stands the traditional concept of individualized sentencing on its head. As with
19
20    any other offense, not all offenders are alike, and not all offenders deserve the same

21    punishment. See, e.g., United States v. Bragg, 582 F.3d 965, 968 (9th Cir. 2009) (“Each case
22    of sentencing is a unique case”). The task before the Court is to determine the appropriate
23
      sentence to be imposed on this particular defendant in this particular case.
24
25
26
      22
        “Normally, the government attorney in a tax case should not recommend that there be no
27
      period of incarceration.” Department of Justice, Criminal Tax Manual, 43.12 [1].
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1            In recommending incarceration in tax cases, the government also often refers to the
2
      sentencing guidelines and related commentary concerning tax offenses. However, the U.S.
3
      Probation Office is certainly as familiar with these provisions of the guidelines as the
4
5     government is. The PSI in the present case, after considering all of these policy

6     considerations, the guidelines, and the statutory sentencing factors, nevertheless correctly
7
      recommends a sentence of probation.23
8
             In fact, the plea agreement in this case sets forth the government’s acknowledgement
9
10    that a sentence within the range of zero to ten months would be appropriate, and therefore

11    recognizes that a sentence of probation could be an appropriate sentence to be imposed on
12
      Mr. Bee. In this regard, the fact that the sentencing laws for certain other offenses deprive
13
      the Court of its traditional sentencing jurisdiction, which sometimes results in over-
14
15    punishment and over-incarceration for certain offenders and thereby wrongly creates

16    disparate sentencing treatment for those offenders, should not mean that the Court should be
17
      required to punish and incarcerate others, especially when the government has agreed, unlike
18
      in some of those cases, that the Court has the authority to exercise its traditional sentencing
19
20    discretion, including imposing a term of probation. One would hope that a 56-year-old first

21    offender with no criminal background, a lifetime of public service and exemplary charitable
22    works, who has significant family and business responsibilities to attend to, and who has
23
24
      23
25       Of course, all of these factors must be considered against the backdrop of “the over-
      incarceration crisis in the federal criminal justice system today,” United States v. Dokmeci,
26    2016 U.S. Dist. LEXIS 30404, *2, 2016 WL 915185 *1 (E.D.N.Y. 2016) (Gleeson, J.), and
      the court’s over-arching obligation to “impose a sentence sufficient, but not greater than
27
      necessary, to comply with the purposes” of the sentencing statutes. 18 U.S.C. § 3553(a).
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1     already incurred substantial adverse consequences as a result of this case, would be given
2
      consideration by the government at sentencing.
3
             In sum, a review of the applicable sentencing statutes, guidelines, and policies shows
4
5     that the PSI is correct in recommending a sentence of 60 months’ probation for Mr. Bee,

6     under the conditions set forth in the report. This case involves a significant number of
7
      mitigating sentencing factors under § 3553, including Mr. Bee’s lack of criminal history,
8
      exemplary employment record, family ties and responsibilities, extraordinary charitable
9
10    service and good works, longtime ties to the community, remorse and acceptance of

11    responsibility for his conduct, the special circumstances arising from his spouse’s medical
12
      condition and needs, the fact that there is clearly no need to protect the community from any
13
      further criminal conduct, and the fact that Mr. Bee has suffered considerable collateral and
14
15    financial consequences as a result of his actions.

16           There are also additional collateral consequences that the Court may properly
17
      consider. Mr. Bee was required to resign and retire as a justice of the peace as a result of his
18
      indictment. His bus company providing transportation to children to school was one of the
19
20    industries hardest hit by the pandemic, and Mr. Bee would have clearly qualified for

21    forgivable PPP loans in the hundreds of thousands of dollars to assist the business, but was
22    not able to apply for those loans. The IRS has placed a lien upon Mr. Bee’s judicial pension,
23
      seizing $4,249.31 each month from his $7,230.68 monthly benefit, leaving a balance from
24
25    which insurance costs of $1,935.54 are also deducted. Mr. Bee also is facing the possibility

26    of a fraud penalty of 75% of the tax loss of $214,414, in the event the IRS determines that
27
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1     the fraud penalty is applicable.24 The burden of caring for his wife will no longer be carried
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      by Mr. Bee but will need to be carried by his children, as there are no funds for caregivers.
3
      Finally, as noted above, Mr. Bee’s incarceration will almost surely signal the demise of his
4
5     business and force him into bankruptcy, requiring Mr. Bee to essentially find a new way to

6     start over in life, at an age when it is not so easy to do so.
7
             Mr. Bee is a good person. He made mistakes for which he is paying, and will pay, the
8
      price. His pension, which he earned, is now down to $1,045.83 per month. He works
9
10    extensively to try to keep the bus company alive. He has reduced his lifestyle to a single-

11    wide trailer for him, his wife, and three of his children. He and his children provide needed
12
      assistance to his wife due to her medical issues. They subside, in part, on food from the food
13
      bank. His reputation is in tatters, but for the people that really know him and his character
14
15    and his ability to work hard, there is an understanding that this act does not define him. He

16    is in a deep financial hole, and there is a possibility of bankruptcy. He is willing, if the Court
17
      permits, to continue to work as hard as possible, and hopefully with the pandemic turning
18
      into an endemic, he can make the bus company survive and pay his debts. Without Mr. Bee
19
20    working his extraordinary hours, the bus company cannot survive. The charges in the

21    indictment occurred some 8 to 11 years ago, when Mr. Bee was working full-time, while
22    attempting to maintain and run his transportation business along with his outside volunteer
23
      and charitable work. He carries with him, and it weighs heavily upon him, that his actions
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25
26
      24
         For anyone with a working knowledge of the IRS, it is safe to assume that the IRS will
27
      attempt to impose the fraud penalty to the fullest extent possible.
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1     have caused deep embarrassment in numerous ways and severely impacted his family and
2
      the numerous people who care about him. Foremost, there is a strong emotion of self-
3
      disappointment. Although Mr. Bee is responsible for his own problems, his problems would
4
5     have been mitigated had his accountant performed his tax preparation and civil audit duties

6     in a competent, professional manner. There is some light at the end of this tunnel, and if he
7
      is permitted to be released and continue working, he has, at least, a chance to pull himself
8
      out of these financial problems and also regain the respect of his community. Regardless of
9
10    the Court’s sentence, Mr. Bee has already been punished severely for his transgressions and

11    requests the opportunity to show to the Court, his family and friends, and the community that
12
      he can pick himself up, make full amends, and continue on with his life as a good citizen of
13
      this community.
14
15           Accordingly, it is requested that the Court enter its order in accordance with the plea

16    agreement and conclude that a 60-month term of probation is appropriate under the
17
      conditions set forth in the PSI, including full payment of the tax loss restitution.
18
             However, if the Court, after considering all of the relevant statutory factors and
19
20    sentencing considerations, determines that a sentence of incarceration must be imposed, Mr.

21    Bee respectfully requests that he be permitted to voluntarily surrender,25 and that he be placed
22    in the United States Penitentiary (“USP”) Tucson Satellite Prison Camp, in order to facilitate
23
      continued contact with his family members.
24
25
26    25
         The PSI correctly notes that Mr. Bee “is viewed as a good candidate for voluntary
      surrender, has kept all court appearances, and is not viewed as a flight risk or a danger to the
27
      community.” (Doc. 106, p. 21).
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1           RESPECTFULLY SUBMITTED this 9th day of March, 2022.
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                                    PICCARRETA DAVIS KEENAN FIDEL PC
3
                                    By:   /s/ Michael L. Piccarreta
4                                         Michael L. Piccarreta
5                                         Jefferson Keenan
                                          Attorneys for Defendant
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1                               CERTIFICATE OF SERVICE
2
              I hereby certify that on the 9th day of March, 2022, I electronically transmitted
3
      the foregoing to the Clerk of the Court via the CM/ECF system for filing and emailed
4     a copy to:
5
6            The Honorable James A. Soto: soto_chambers@azd.uscourts.gov

7            Gabriela Ma, Judicial Assistant: gabriela_ma@azd.uscourts.gov
8
             Wendy Cotner, U.S. Probation: wendy_cotner@azd.uscourts.gov
9
             David Zipps, Esq.: David.Zipps@usdoj.gov
10           Attorney for the United States
11
12    By: /s/ Melissa Hahn
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